                               UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF ARIZONA

ln re:                                                            Case o.: 2:13-bk-14029-DPC

   JOHN MCLOUGHLIN                                                Chapter: 13
   7235 E HAMPTON
   # 106
   MESA, AZ 85209
   SSAN: xxx-xx- 4733
   EIN:

Debtor(s)


                   CERTIFICATE OF ELIGIBILITY FOR CHAPTER 13 DISCHARGE
                           AFTER COMPLETION OF PLAN PAYMENTS
             Pursuant to 11 U.S.C § l328 and Local Rule 2084- 26, I certify under penalty of perjury that:

         •       I am nol required by a judicial or administrative order, or by statute, to pay a domestic support obligation
             (such as child support or spousal maintenance); OR

             I have paid all domestic support obligation amounts payable under such order or statute that were due on or
             before the date of this Certification (including all amounts due before the bankruptcy petition was filed and
             provided for by the Chapter 13 plan).


         •      I did not receive a discharge in a bankruptcy case fi led under Chapter 7, 11 or 12 during the fou1-year
             period or in a case filed under Chapter 13 during the two-year period preceding the date of the order for relief
             in this case.


         •     After the petition was filed in this case, I completed an instructional course concerning personal financial
             management from an agency approved by the Uni ted States Trustee and filed a certificate of completion of
             such course.

         •     I have not been convicted of any felony which demonstrates or may demonstrate that the filing of this case
             was an abuse of Title 11, United States Bank.Tuptcy Code, and there is no proceeding pending in which l may
             be found guilty of such a felony.


         •     I do not owe a debt of the kind specified in§ 522(q)(l)(B) and there is no proceeding pending in which I
             may be found liable for such a debt. T have not been convicted of a felony which demonstrates that the filing
             of this bankruptcy case was an abuse of the provisions of the bankruptcy laws.




                     - - - CERTIFICATE OF ELIGIBILITY CONTINUES ON NEXT PAGE- - -




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CONTINUATION OF CERTIFICATE OF ELIGIBILITY FOR CHAPTER 13 DISCHARGE AFTER COMPLETION OF PLAN PAYMENTS




I declare under penalty of perjury that the foregoing ap.1>.wers are true and correct to the best of my knowledge,
infom1ation and belief.                          ----



                                                                    Date



   Signature of Joint Debtor                                         Date


Penalty for making a false statement: Fine ofup 10 $500,000 or imprisomnenzjor up zojive years, or both. 18 U.S.C. §§ 152 and 3571.




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